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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 CHERYL HALL, and BRAD
 LAFUZE, on behalf of themselves and
 all others similarly situated,

       Plaintiffs,                        Case No. 20-cv-10670
                                          Hon. George C. Steeh
 v.                                       Mag. Judge Patricia T. Morris

 WELLPATH, LLC,

       Defendant.

 LIDDLE & DUBIN, P.C.                     CHAPMAN LAW GROUP
 Steven D. Liddle (P45110)                Ronald W. Chapman Sr., M.P.A.,
 Matthew Z. Robb (P81665)                 LL.M. (P37603)
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      DEFENDANT WELLPATH, L.L.C.’S REPLY TO PLAINTIFFS’
         RESPONSE TO DEFENDANT’S MOTION TO DISMISS


EXHIBIT B            Wellpath Policy and Procedure HCD-100_E09A – Medication
                     Verification for Grand Traverse County Jail and Wayne County
                     Jail
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                                                                      Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_E-09A Medication Verification --Grand                             REFERENCE: 65458
Traverse MI
                                                                                 PAGE:          1 OF 4
                                                                                 VERSION:1
APPROVER: Worley, Nanette                                                        SUPERSEDES: Not Set
                                                                                 EFFECTIVE: 06/23/2019
                                                                                 REVIEWED: 06/23/2019



   1. PURPOSE

   This policy is intended to ensure that there is a process in which to verify reported medications
   and community prescribers’ active prescriptions and communicate this information to an
   authorized Wellpath prescriber who will make a determination to continue, substitute, or
   discontinue based on clinical necessity.

   2. APPLICABILITY

   This policy applies to health care staff and other persons providing services at the request of
   Wellpath.

   3. POLICY

   Medication verification is a process through which an outside prescriber’s active prescriptions are
   attempted to be confirmed and reported to a credentialed Wellpath prescriber or authorized
   prescriber for determination of continuance, substitution, or discontinuation based on clinical
   need.

   4. INTERPRETATION / RESPONSIBILITY

   This policy is to be interpreted by the Wellpath Chief Clinical Officer or designee, and it is the
   responsibility of the Responsible Health Authority or designee to ensure implementation and
   adherence.

   5. DEFINITIONS

   Qualified Health Care Professional (QHP) – Includes physicians, physician assistants, nurses,
   nurse practitioners, dentists, dental hygienists, dental assistants, MAs, CNAs, mental health
   professionals, and others who by virtue of education, credentials, and experience are permitted
   by law to evaluate and care for patients.




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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
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   6. PROCEDURE

      6.1. Medication verification includes the following information at a minimum:

              •     Patient identification

              •     Community prescriber identification

              •     Medication name and dosage dispensed

              •     Directions for the use of the medication

              •     Stop date for the prescription

              •     Date on which the prescription was last filled and quantity dispensed

      6.2. Sites are to use a medication verification log to document this process.

      6.3. Reported medications, both those verified and unable to be verified, will be discussed
           with the provider within one (1) day for decision to continue the verified order, not
           continue the verified order, substitute another medication, start medication that was
           unable to be verified, modify the dosage of a verified order, or not start a verified (or
           unverified) order. The provider can use the information presented by the nurse from the
           medication verification process, or if the medication was unable to be verified, can
           continue the medication verification process for up to two (2) additional business days.

      6.4. No medications will be started without an order from a Wellpath QHP.

      6.5. The option to decline should be invoked whenever a medication is thought to be
           unnecessary or inappropriate based upon diagnosis, usage, drug type, drug indication,
           dosage, etc. The decision must be documented in the health record. The following bullet
           points provide some guidance on decision making.

                •   When a patient reports current use of a medication and the verification process
                    succeeds in contacting the prescriber or dispensing pharmacy, but the medication
                    is not current or was never provided, the medication should not be considered as


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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
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                    a continuing medication, and the patient is generally considered as not currently
                    receiving treatment with the identified medication.

                •   When a patient reports that he or she received medications by using medication
                    from a friend or family member and cannot have their usage verified, the patient
                    should not be considered as receiving medication from a legitimate source. Site
                    QHPs must be consulted for direction.

                •   When a patient reports current use of a medication and the medication cannot be
                    verified because the agency is unavailable, or the verification cannot be completed
                    timely (in time either for a High-Priority or in time to initiate a routine medication
                    within time frames outlined below), a QHP should be consulted for direction.

                •   When a patient reports current use of nonstandard medication (experimental, off-
                    label, non-FDA approved, etc.) and the medication is verified, special efforts
                    should be made to determine whether the medication must be continued and how
                    to accomplish continuity of care. Although incarcerated patients generally do not
                    participate in experimental protocols, care should be taken when interrupting
                    protocol participation, especially in short-stay instances.

                •   When patients are received from hospital settings, there must be a timely review
                    of the discharge medication regimen and it must be adjusted to the correctional
                    setting, being mindful of providing care in a continuous manner. Formulary
                    substitutions, decisions not to continue one or more medications, and other
                    medication modifications are common at this juncture. As previously mentioned,
                    such decisions are documented in progress notes and orders in the health record.

      6.6. Medications should generally be initiated within 48 hours of notification of the medication
           to health care staff. During this period the medication should be verified and a supply
           obtained. Options for obtaining medication include stock supply, contract pharmacy
           supply, local pharmacy, or in rare instances patient supply (see HCD-100_E-09B Timely
           Initiation of Medication Upon Arrival). The expectation that routine medications will be
           initiated within 48 hours is tempered with the recognition that the site QHPs have the
           authority to determine if the medication is clinically indicated. When a decision that a
           medication is not clinically indicated is made, the decision and the reason for it is
           documented in the health record and the decision communicated to the patient by health
           care staff, either the same day or on the next day when the health care staff is on site.



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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
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      6.7. A separate policy directive, HCD-100_E-09B Timely Initiation of Medication Upon
           Arrival, addresses medications for which continuation within 48 hours is insufficient, and
           for which efforts should be made to avoid missing even a single dose, HCD-100_E09B
           should be considered a companion to this policy directive.

   7. REFERENCES

   HCD-100_E-09B Timely Initiation of Medication Upon Arrival

   Forms
      • Medication Verification Form




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                                                                      Wellpath
                                                     Wayne County Jail Michigan
                                                          Policies & Procedures
TITLE: HCD-100_E-09A Medication Verification --Wayne MI                          REFERENCE: 52664
                                                                                 PAGE:          1 OF 4
                                                                                 VERSION:1
APPROVER: Townsel, Audrey                                                        SUPERSEDES: Not Set
                                                                                 EFFECTIVE: 06/26/2019
                                                                                 REVIEWED: 06/26/2019



   1. PURPOSE

   This policy is intended to ensure that there is a process in which to verify reported medications
   and community prescribers’ active prescriptions and communicate this information to an
   authorized Wellpath prescriber who will make a determination to continue, substitute, or
   discontinue based on clinical necessity.

   2. APPLICABILITY

   This policy applies to health care staff and other persons providing services at the request of
   Wellpath.

   3. POLICY

   Medication verification is a process through which an outside prescriber’s active prescriptions are
   attempted to be confirmed and reported to a credentialed Wellpath prescriber or authorized
   prescriber for determination of continuance, substitution, or discontinuation based on clinical
   need.

   4. INTERPRETATION / RESPONSIBILITY

   This policy is to be interpreted by the Wellpath Chief Clinical Officer or designee, and it is the
   responsibility of the Responsible Health Authority or designee to ensure implementation and
   adherence.

   5. DEFINITIONS

   Qualified Health Care Professional (QHP) – Includes physicians, physician assistants, nurses,
   nurse practitioners, dentists, dental hygienists, dental assistants, MAs, CNAs, mental health
   professionals, and others who by virtue of education, credentials, and experience are permitted
   by law to evaluate and care for patients.



   6. PROCEDURE

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                                                                     Wellpath
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      6.1. Medication verification includes the following information at a minimum:

              •     Patient identification

              •     Community prescriber identification

              •     Medication name and dosage dispensed

              •     Directions for the use of the medication

              •     Stop date for the prescription

              •     Date on which the prescription was last filled and quantity dispensed

              6.2.•          Sites are to use a medication verification log to document this process.                      Formatted: Font: (Default) Arial
                                                                                                                           Formatted: Indent: Left: 0.69", First line: 0"
      6.3.6.2.   Reported medications, both those verified and unable to be verified, will be
            discussed with the provider within one (1) day for decision to continue the verified order,
            not continue the verified order, substitute another medication, start medication that was
            unable to be verified, modify the dosage of a verified order, or not start a verified (or
            unverified) order. The provider can use the information presented by the nurse from the
            medication verification process, or if the medication was unable to be verified, can
            continue the medication verification process for up to two (2) additional business days.

      6.4.6.3.      No medications will be started without an order from a Wellpath QHP.

      6.5.6.4.   The option to decline should be invoked whenever a medication is thought to be
            unnecessary or inappropriate based upon diagnosis, usage, drug type, drug indication,
            dosage, etc. The decision must be documented in the health record. The following bullet
            points provide some guidance on decision making.

                •   When a patient reports current use of a medication and the verification process
                    succeeds in contacting the prescriber or dispensing pharmacy, but the medication
                    is not current or was never provided, the medication should not be considered as
                    a continuing medication, and the patient is generally considered as not currently
                    receiving treatment with the identified medication.

                •   When a patient reports that he or she received medications by using medication
                    from a friend or family member and cannot have their usage verified, the patient


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                    should not be considered as receiving medication from a legitimate source. Site
                    QHPs must be consulted for direction.

                •   When a patient reports current use of a medication and the medication cannot be
                    verified because the agency is unavailable, or the verification cannot be completed
                    timely (in time either for a High-Priority or in time to initiate a routine medication
                    within time frames outlined below), a QHP should be consulted for direction.

                •   When a patient reports current use of nonstandard medication (experimental, off-
                    label, non-FDA approved, etc.) and the medication is verified, special efforts
                    should be made to determine whether the medication must be continued and how
                    to accomplish continuity of care. Although incarcerated patients generally do not
                    participate in experimental protocols, care should be taken when interrupting
                    protocol participation, especially in short-stay instances.

                •   When patients are received from hospital settings, there must be a timely review
                    of the discharge medication regimen and it must be adjusted to the correctional
                    setting, being mindful of providing care in a continuous manner. Formulary
                    substitutions, decisions not to continue one or more medications, and other
                    medication modifications are common at this juncture. As previously mentioned,
                    such decisions are documented in progress notes and orders in the health record.

      6.6.6.5.     Medications should generally be initiated within 48 hours of notification of the
            medication to health care staff. During this period the medication should be verified and
            a supply obtained. Options for obtaining medication include stock supply, contract
            pharmacy supply, local pharmacy, or in rare instances patient supply (see HCD-100_E-
            09B Timely Initiation of Medication Upon Arrival). The expectation that routine
            medications will be initiated within 48 hours is tempered with the recognition that the
            site QHPs have the authority to determine if the medication is clinically indicated. When
            a decision that a medication is not clinically indicated is made, the decision and the
            reason for it is documented in the health record and the decision communicated to the
            patient by health care staff, either the same day or on the next day when the health care
            staff is on site.

      6.7.6.6.   A separate policy directive, HCD-100_E-09B Timely Initiation of Medication Upon
            Arrival, addresses medications for which continuation within 48 hours is insufficient, and
            for which efforts should be made to avoid missing even a single dose, HCD-100_E09B
            should be considered a companion to this policy directive.



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   7. REFERENCES

   HCD-100_E-09B Timely Initiation of Medication Upon Arrival

   Forms
      • Medication Verification Form




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